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                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    HUNTINGTON DIVISION

JOSEPH H. LAVIGNE, JR.

               Petitioner,
                                                              CIVIL ACTION NO. 3:13-cv-29691
v.

MARVIN PLUMLEY, Warden,
Huttonsville Correctional Center,

               Respondent.


                                       STATUS REPORT

        Pursuant to the Court’s Order dated April 20, 2015, ECF No. 25, Petitioner Joseph H.

Lavigne, Jr., by counsel, offers the following report as to the status of DNA testing ordered by the

Circuit County of Putnam County, West Virginia.

        The DNA testing of the vaginal swabs from the sexual assault kit and the additional DNA

evidence sent to forensic DNA analyst Mr. David Hansen on March 12, 2018 has been completed.

West Virginia Innocence Project is working on drafting the appropriate petition to exhaust all state

remedies. WVIP anticipates filing the completed petition in the fall semester of 2018.

        Petitioner therefore submits that the stay should remain in effect pending the anticipated

events described above.

        Respectfully submitted September 18, 2018.




                                              JOSEPH H. LAVIGNE, JR.,
                                                          Petitioner.
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                                 By counsel,



                                   /s/ Valena Elizabeth Beety
                                 Valena Elizabeth Beety (WVSB 11907)
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                                CERTIFICATE OF SERVICE


        I hereby certify that on September 18, 2018, I electronically filed the foregoing Status

Report with the Clerk of the Court using the CM/ECF system, which will send a notification of

such filing to:


                              Shannon F. Kiser, Esq.
                              Assistant Attorney General
                              OFFICE OF THE ATTORNEY GENERAL
                              OF WEST VIRGINIA
                              State Capitol Complex,
                              Bldg. 1, Room E-26
                              Charleston, WV 25305


                                             /s/ Valena Elizabeth Beety
                                            VALENA ELIZABETH BEETY (WVSB 11907)
